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                                 CERTIFICATE OF SERVICE

               I, Ann C. Cordo, certify that I am not less than 18 years of age, and that service of

the foregoing Debtors’ Motion Pursuant To Sections 501, 502 And 1111(a) Of The

Bankruptcy Code, Bankruptcy Rules 2002 And 3003(c)(3) And Local Rule 2002-1(e) For

An Order Establishing Deadlines For Filing Proofs Of Claim Against Nortel Networks

(CALA) Inc. And Approving Form And Manner Of Notice Thereof was caused to be made

on November 12, 2009, in the manner indicated upon the entities on the attached service list.

Dated: November 12, 2009

                                                      /s/ Ann C. Cordo
                                                             Ann C. Cordo (No. 4817)




3231125.1
